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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA                      Case No.: 1:19-cr-00142 JLT
12                      Plaintiff,                 ORDER DENYING DEFENDANT’S MOTION
                                                   FOR SENTENCE REDUCTION
13          v.
                                                   (Doc. 107)
14   RAFAEL VALENCIA GALLEGOS,
15                      Defendant.
16

17          Mr. Gallegos seeks a reduction in his sentence based upon the Amendments to the United

18   States Sentencing Guidelines, which provide a benefit for “zero-point” offenders and for certain

19   offenders who were under a term of supervision at the time the defendant committed the offense.

20   Because, Mr. Gallegos fails to demonstrate he is entitled to a sentence adjustment, the motion is

21   DENIED.

22          I. Analysis

23          Mr. Gallegos plead guilty to one count of Conspiracy to Distribute and Possess with Intent

24   to Distribute Methamphetamine, in violation of 21 U.S.C. § § 846, 841(a)(1). (Doc. 92 at 1) At

25   the sentencing hearing, the Court determined Mr. Gallegos’s criminal history placed him in a

26   criminal history category II, due to a prior conviction for narcotics-related offenses. (Doc. 92 at 9)

27   Because § 4C1.1 provides for a sentence reduction only for those with no criminal history points,

28   Mr. Gallegos is not entitled to the adjustment. The Court did not impose any “status points” under
                                                       1
     Case 1:19-cr-00142-JLT-SKO Document 110 Filed 06/07/24 Page 2 of 2


 1   the former USSG § 4A1.1. Thus, even if Mr. Gallegos has done well while in custody, he is not

 2   entitled to a sentencing adjustment based upon the Amendments to the Sentencing Guidelines.

 3   Thus, his motion to reduce his sentence (Doc. 53) is DENIED.

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     IT IS SO ORDERED.
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 6      Dated:    June 7, 2024
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